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 7
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
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                                                    )
                                                    )
11          Plaintiff,                              ) [PROPOSED] ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     WENDALL STEWART, et al.,                       )
                                                    )
14
                                                    )
            Defendants.                             )
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                                                    )
                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the November 5, 2010 status
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     conference be continued to December 3, 2010 at 9:00 a.m. I find that the ends of justice warrant
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
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     for effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS

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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and

24
     Local Code T4 from the date of this order to December 3, 2010.

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     IT IS SO ORDERED.Date: 11/2/2010

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                                                         _________________________
27                                                       GARLAND E. BURRELL, JR.
                                                         United States District Judge
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